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10   UNITED STATES OF AMERICA

11                            UNITED STATES DISTRICT COURT

12                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                 No. CR 07-1402-SJO

14               Plaintiff,                    GOVERNMENT’S SENTENCING POSITION;
                                               EXHIBIT
15                    v.
                                               Sentencing Date: 11/13/2017
16   MARK DASH,                                Time: 9:00 a.m.
                                               Location:     Courtroom of the
17               Defendant.                                  Hon. S. James Otero

18

19         Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorneys Monica E. Tait and
22   Scott Paetty, hereby files its sentencing position and response to
23   the presentence report as to defendant Mark Dash.
24         This sentencing position is based upon the attached memorandum
25   of points and authorities and exhibit, its under seal submission of
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 1   victim data, the files and records in this case, and such further

 2   evidence and argument as the Court may permit.

 3    Dated: October 26, 2017              Respectfully submitted,

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Defendant Mark Dash (“defendant” or “DASH”) appears for

 4   sentencing on his plea to count one, conspiracy to commit mail and

 5   wire fraud, in violation of 18 U.S.C. § 371.          The parties and the PSR

 6   are in agreement that the offense level for this defendant is 17.

 7   The government recommends a 4-level downward Booker variance for this

 8   defendant for the reasons stated below, and asks that the court

 9   impose a sentence of 12 months’ imprisonment, 3 years supervised

10   release, and an order of $460,779.47 in restitution.

11   II.   FACTS
12         Defendant pleaded guilty to one count of conspiracy, in

13   violation of Title 18, United States Code, Section 371.            Defendant’s

14   conviction is based on his participation in a fraudulent

15   telemarketing operation based in Montreal, Quebec, Canada, that

16   targeted elderly victims in both Canada and the United States.             In

17   the plea agreement, defendant agreed to the following statement of

18   facts:

19         Beginning as early as 2004, and continuing through December
           2006, several individuals agreed to defraud victims in the
20         United States and Canada, including victims located in the
           Central District of California, and used the U.S. mails and
21         interstate and international wire communications to execute
           their scheme. Defendant joined the conspiracy no later
22         than 2004 and participated in it through and including
           approximately September 11, 2006. The conspiracy operated
23         as follows: working from Montreal, Quebec, Canada,
           defendant’s coconspirators committed telemarketing fraud
24         against victims in Canada and the United States, including
           victims located in the Central District of California.
25         Defendant’s coconspirators obtained “leads,” that is, names
           and contact information of potential victims in the United
26         States and Canada. Working from the leads, as defendant
           then knew, telemarketers contacted victims by telephone and
27         mail and falsely informed them that they had won a large
           sum of money in a sweepstakes or lottery. As defendant
28         then knew, this representation was false and fraudulent
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 1         because there was no sweepstakes or lottery, and the
           victims called had not won any sum of money from the
 2         telemarketers anyone with whom they and the defendant were
           associated.
 3
           As defendant then knew, the telemarketers falsely told the
 4         victims that, in order to collect their “winnings,” the
           victims had to pay a sum of money, which the telemarketers
 5         falsely represented was for taxes, administrative fees,
           insurance, legal fees, and other expenses that purportedly
 6         had to be paid before the “winnings” could be sent to the
           victims. As defendant then knew, these representations
 7         were false and fraudulent, as the victims had no reason to
           send money to the telemarketers, defendant or anyone with
 8         whom defendant was associated.

 9         As defendant then knew, the telemarketers would instruct
           victims to send money in a variety of ways: (i) by wire
10         transfer via Western Union or MoneyGram, either in a name
           of the victim’s choosing, or in a name supplied by the
11         telemarketers; (ii) by mail or by commercial carrier, such
           as Federal Express, to an address supplied by the
12         telemarketers; or (iii) by wire transfer from the victim’s
           bank account into a bank account controlled by
13         coconspirator John Bellini.

14         When victims sent money, defendant assisted in arranging
           for that money to be converted to cash for the benefit of
15         defendant and others, in the following ways, among others:
           (i) when a victim sent money for the purported expenses and
16         fees by mail or by commercial carrier, such as Federal
           Express, defendant would receive the funds at his home
17         address, and would provide the remaining funds to Bellini
           or other co-conspirators; (ii) the telemarketers would
18         instruct victims to wire money through Western Union or
           MoneyGram, sometimes in defendant’s name; defendant, acting
19         as a “runner” for the organization, would then obtain the
           money from the Western Union or MoneyGram outlets, would
20         take a percentage of the money as a fee, and would supply
           the remaining money he picked up to coconspirator Bellini.
21
           In furtherance of the conspiracy and to accomplish the
22         objects of the conspiracy, defendant and others committed
           the following overt acts: On September 21, 2005, at the
23         direction of a telemarketer using the name “Jack Gordon,”
           who purported to be with a company called “LKR
24         Enterprises,” victim G.J. sent via UPS a check to the home
           of defendant DASH.
25
           On August 16, 2006, defendant DASH collected money sent via
26         Western Union by victim R.M., in the Central District of
           California.
27
           On September 11, 2006, defendant DASH attempted to collect
28         money sent via Western Union by victim C.D.

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 1         During the time defendant was a member of the conspiracy,
           more than 10 victims of the conspiracy paid more than
 2         $460,000 to the co-conspirators as a result of the
           fraudulent scheme. The scheme was committed through mass
 3         marketing.

 4   (Plea Agreement at pp. 7-9.)

 5         As part of the investigation of this matter, the Royal Canadian

 6   Mounted Police (“RCMP”) conducted a 6-week wiretap of numerous phones

 7   connected to multiple participants in the scheme.           Based on the
 8   wiretap and RCMP’s seizure of search warrant evidence from various

 9   defendants, its analysis of Western Union and MoneyGram records, and

10   interviews with certain victims, RCMP linked more than 100 victims to

11   the entire fraud scheme.       (Exh. 1 (Victim Summary as of November 21,

12   2007 by Sgt. Yves Leblanc)).        The government has submitted

13   separately, under seal, the underlying data prepared by RCMP in

14   accordance with Sgt. Leblanc’s discussion in Exhibit 1, from which

15   the PSR amounts (set forth at PSR p. 18) were derived, itemizing each

16   loss by each victim.      See GOVERNMENT’S FILING OF LOSS ANALYSIS

17   LISTING VICTIMS, DATES OF LOSSES, AND AMOUNTS LOST IN CONNECTION WITH

18   SENTENCING, docket no. 589.1       To compute loss (and restitution) for

19   defendant DASH only, the government has extracted from the under seal

20   data only those victims and only those amounts paid during the time

21   defendant was a member of the conspiracy from 2004 to on or about

22   September 11, 2006.      Thus, only the victims and amounts from this

23   timeframe appear in defendant’s PSR.

24

25         1To the extent there are differences between Exh. 1 and Docket
     no. 589 in loss amounts and victim counts, Docket No. 589 controls.
26   Docket no. 589 was filed under seal in connection with defendant
     Adrien Stephenson’s sentencing, but was produced to defendant’s
27   counsel in discovery. The victims and transactions on docket no. 589
     include transactions and victims for which defendant is not
28   responsible (because they occurred outside of the time defendant was
     a member of the conspiracy).
                                      3
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 1         DASH served as a “runner” for the criminal organization headed

 2   by defendant Bellini, and would obtain the money from the Western

 3   Union or Money Gram outlets, take a percentage of the money as a fee

 4   and would supply the remaining money that he picked up to Bellini.

 5   (PSR ¶ 35.)     DASH also received money sent from victims at his home

 6   address and would provide the remaining funds to Bellini or other co-

 7   conspirators.     (Id.)   DASH did not serve as a telemarketer and did

 8   not have contact with the victims of the offense.            (Id.)   Instead his

 9   role was limited to serving as a runner.           (Id.)    Therefore, as

10   compared to his co-defendants during his period of involvement, DASH

11   appears to have been a minor participant.           (Id.)   As his plea

12   agreement admits, defendant teamed with telemarketers, and “at the

13   direction of a telemarketer using the name “’Jack Gordon’,” one of

14   the victims sent check via UPS to DASH’s home; defendant DASH also

15   collected and attempted to collect money sent by victims via Western

16   Union.    (Plea Agreement, dkt. 677 at 9.)

17   III. SENTENCING GUIDELINES CALCULATIONS
18         The parties have agreed that the following calculations, which

19   are consistent with the PSR and the plea agreement’s factual basis,

20   apply to this case:

21       Base Offense Level:                     6     [U.S.S.G. § 2B1.1(a)(2))]
22       Specific Offense
         Characteristics
23

24       Loss between $250,001 and
         $550,000                               +12   [U.S.S.G. § 2B1.1(b)(1)(G)]
25
         10 or more victims, and/or
26       offense committed through
         mass marketing                                                 [U.S.S.G.
27
                                                 +2     § 2B1.1(b)(2)(A)(i),(ii)]
28

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 1
         Substantial part of fraud
 2       scheme committed from outside                                 [U.S.S.G.
         the United States                      +2            § 2B1.1(b)(10)(B)]
 3

 4
           Adjustments:
 5         Role in Offense                      -2        [U.S.S.G. § 3B1.2(b)]

 6       Acceptance of Responsibility           -3            [U.S.S.G. § 3E1.1]
         Total Offense Level                    17
 7

 8         Booker/§ 355(a) variance             -4
           Adjusted Total Offense Level         13
 9
     IV.    SENTENCING FACTORS
10
            The government believes that an evaluation of the factors set
11
     forth in 18 U.S.C. § 3553(a) demonstrates why a sentence of 12 months
12
     is appropriate, reflecting a variance of 4 levels from the advisory
13
     guidelines sentence in this matter.         The government below addresses
14
     the most notable of the § 3553(a) factors as applied to this
15
     defendant.
16
            A.    The nature and circumstances of the offense and
17                characteristics of the defendant
18          Defendant DASH was not on the front lines of the fraudulent
19   organization: he was not a telemarketer who directly lied to victims
20   to persuade them to part with their money.          However, DASH was a core
21   member of the conspiracy and was integral to its operation.             As the
22   Court well knows, the scheme preyed on the elderly and infirm,
23   causing substantial financial and emotional harm to these elders.
24   The nature of the offense was undeniably serious, and is a
25   substantial factor supporting the recommended sentence.
26

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 1           B.     The need for the sentence imposed to reflect the
                    seriousness of the offense, to promote respect for the law,
 2                  and to provide just punishment for the offense.
 3           A 12-month sentence is appropriate to a person in defendant’s

 4   role.    As discussed above, defendant did not have contact with

 5   victims, although he worked closely with the telemarketers who did

 6   have such contact.      A longer sentence would be unjust given

 7   defendant’s role as a runner; however, defendant should be punished

 8   for the more than $460,000 the scheme generated while defendant

 9   knowingly participated.

10           C.     The need to avoid unwarranted sentence disparities among
                    defendants with similar records who have been found guilty
11                  of similar conduct
12           The government’s 4-level Booker variance recommendation relates

13   to this factor, due to the history of this specific case.

14           Defendant is a minor participant, chiefly because he was not in

15   active contact with the victims.           He participated in the scheme at

16   least intermittently for a significant period of time—from 2004 to

17   September 11, 2006.

18           Previously, this Court has sentenced several of similarly-

19   culpable co-conspirators to custodial sentences of approximately one

20   year:

21                  -Tania Ivanova, who like defendant DASH, worked as an

22           assistant to defendant Bellini, was associated with slightly

23           more loss (approximately $480,000), and also had no direct

24           contact with victims, received a sentence of 12 months and one

25           day.   (PSR ¶ 11-3.)   Unlike defendant, Ivanova was involved in

26           the scheme for a much shorter period of time (November and

27           December 2006.)

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 1               -Adrian Stephenson owned a MoneyGram outlet, retrieved the

 2         fraud proceeds from the MoneyGram system, and took a large cut

 3         of the money before remitting the remainder to Bellni.

 4         Stephenson was associated with slightly less loss (approximately

 5         $450,000), and only participated in the scheme for about a

 6         month.    He received a sentence of 12-months and one day.          (PSR

 7         ¶ 11-22.)

 8         A 4-level Booker variance for defendant DASH (effectively, to

 9   level 13) would yield an advisory guidelines sentence of 12-18

10   months, resulting in a similar custodial range to that of defendants

11   Ivanova and Stephenson.       The government believes DASH is comparable

12   in culpability to Ivanova and Stephenson, particularly since he

13   shared a similar role in the conspiracy as Ivanova.

14         Moreover, a 12-month sentence for defendant DASH is about one-

15   third the sentence this Court imposed on telemarketer George

16   Chryssanthopoulos (36 months), and far less than the sentence this

17   Court imposed on the highly culpable telemarketer Jeffrey Jacobson

18   and ringleader Bellini (who received 68- and 87-month sentences,

19   respectively, for their wire fraud convictions).2           These differences

20   are appropriate given all these defendants’ higher (or much higher)

21   levels of culpability, while still providing just punishment for the

22   nature of defendant DASH’s offense.         Taking in all the sentences

23

24         2 As the Court is aware, Bellini’s 87-month sentence was a
     reduced sentence due to his substantial downward departure for
25   cooperation. Similarly, Alexander Andriopoulous, the very first
     defendant who surrendered even before extradition proceedings,
26   received a similarly substantial departure for his assistance in the
     case (which was linked to the extradition of all the other
27   defendants) and received probation. For defendant DASH, any
     sentencing disparity relating to these defendants is warranted, not
28   unwarranted, because defendant DASH did not cooperate. 18 U.S.C.
     § 3553(a)(6).
                                      7
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 1    imposed so far in this case, a 12-month sentence for this defendant

 2    avoids unwarranted sentencing disparity.

 3          D.     Response to Defendant’s Sentencing Position
 4          Defendant attempts to mitigate his role in the conspiracy by

 5    distinguishing himself from Ivanova.        Defendant alleges Ivanova

 6    participated in the conspiracy for a longer period than defendant.

 7    (See Def’s Sentencing Mem. at 6.)         This statement is factually

 8    incorrect.    Defendant acted as a runner for Bellini from at least

 9    2004 through December 2006.       (PSR ¶ 13.)    As discussed above, Ivanova

10    was only involved from November through December 2006.            Therefore,

11    defendant should not be accorded less responsibility than Ivanova for

12    his involvement in the scheme.

13          Defendant references the fact that he has spent 68 days in

14    custody in Canada prior to his extradition to the United States.

15    (Def’s Sentencing Mem. at 2.)       The amount of time defendant was in

16    custody in Canada is indicated in the PSR under the heading,

17    “Pretrial Adjustment.”      (See PSR ¶ 10.)     The applicable statute

18    provides as follows:

19          (b) Credit for Prior Custody.—A defendant shall be given
            credit toward the service of a term of imprisonment for any
20          time he has spent in official detention prior to the date
            the sentence commences—
21
                   (1) as a result of the offense for which the sentence
22                 was imposed; or

23                 (2) as a result of any other charge for which the
                   defendant was arrested after the commission of the
24                 offense for which the sentence was imposed;

25          that has not been credited against another sentence.

26    18 U.S.C. § 3585(b).      The government does not dispute the calculation

27    noted in the Pretrial Adjustment, but rather notes that the Bureau of

28    Prisons (“BOP”), not this Court, must decide what credit to award

                                            8
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 1    under this statute.      United States v. Checchini, 967 F.2d. 348, 349-

 2    50 (9th Cir. 1992) (district court has no jurisdiction to grant

 3    credit under 18 U.S.C. § 3585(b) (extradition matter)), citing United

 4    States v. Wilson, 503 U.S. 329 (1992) (district courts have no

 5    jurisdiction to award credit at the time of sentencing).            There is no

 6    indication that BOP is reluctant to grant credit, will delay granting

 7    credit, or has already refused to grant credit to defendant.

 8    Moreover, because defendant has not shown that there is any

 9    likelihood that he will not be awarded credit by BOP for the time he

10    was detained in Canada as a result of the United States’ request to

11    extradite him on the present offense, there is no reason for this

12    court to incorporate a credit calculation in fashioning its sentence.

13    V.    CONCLUSION
14          For the foregoing reasons, the government asks this court to

15    sentence defendant to a term of incarceration of 12 months.            In

16    addition, the Court should impose 3 years supervised release, a $100

17    special assessment, and an order of $460,779.47 in restitution.

18     Dated: October 26, 2017              Respectfully submitted,

19                                          SANDRA R. BROWN
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